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36629-318



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


RONALD HARRIS,                                         )
                                                       )
        Plaintiff,                                     )
                                                       )
vs.                                                    )       Case No.: 4:22-CV-01063
                                                       )
U.S. CENTER FOR SAFESPORT,                             )
                                                       )
                                                       )
        Defendant.                                     )

                      DEFENDANT U.S. CENTER FOR SAFESPORT’S
                          MOTION TO DISMISS COMPLAINT

        Defendant, U.S. Center for SafeSport (incorrectly sued as “Safesport, Inc.”) (hereinafter

“Defendant” or the “Center”), by and through its undersigned counsel, hereby files this Motion to

Dismiss the Complaint filed by Plaintiff Ronald Harris (“Plaintiff” or “Harris”), pursuant to

Federal Rule of Civil Procedure 12(b)(6) and in support thereof, avers as follows:

                                        INTRODUCTION

        Plaintiff has brought an action seeking damages against the Center for slander. Because

Congress has determined that the Center is immune from damages for slander, Plaintiff’s claim

fails as a matter of law. Plaintiff’s claim is also barred by the 2-year Missouri statute of limitation

applicable to an action for slander. Accordingly, the case should be dismissed with prejudice.

                                   PROCEDURAL HISTORY

        Plaintiff commenced this action by filing a Petition in the Circuit Court of the City of St.

Louis, Missouri, on June 16, 2021. Petition (ECF No. 1). Plaintiff did not serve the Center with

the Petition until over a year later, on October 3, 2022. On October 5, 2022, the Center removed

the action to this Court. See Notice of Removal (ECF No. 2); see also 36 U.S.C. § 220541(d)(3)

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(“Any civil action brought in a State court against the Center relating to the responsibilities of the

Center under this section, section 220542, or section 220543, shall be removed, on request by the

Center, to the district court of the United States in the district in which the action was brought, and

such district court shall have original jurisdiction over the action without regard to the amount in

controversy or the citizenship of the parties involved.”). This Court has jurisdiction over this

matter.1

                                       LEGAL STANDARD

         Rule 12(b)(6) provides that an action should be dismissed where it fails to state a claim

upon which relief can be granted. A complaint cannot survive a motion to dismiss unless it

“contain[s] sufficient factual matter, accepted as true, to state a claim for relief that is plausible on

its face.” H & R Block E. Enterprises, Inc. v. Intuit, Inc., 945 F. Supp. 2d 1033, 1035 (W.D. Mo.

2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).2 “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” McShane Constr. Co., LLC v. Gotham Ins.

Co., 867 F.3d 923, 927 (8th Cir. 2017) (quoting Iqbal, 556 U.S. at 678). “The purpose of this

threshold pleading requirement is to allow a defendant to test the legal sufficiency of a complaint


1
  On October 14, 2022, Plaintiff filed a Motion to Remand and Amended Motion to Remand,
erroneously arguing this Court does not have jurisdiction because the amount in controversy is
allegedly less than $75,000. See Plaintiffs' (sic) Motion to Remand (ECF No. 8) and Plaintiffs’
(sic) Amended Motion to Remand (ECF No. 10). The amount in controversy is irrelevant to
jurisdiction pursuant to 36 U.S.C. §220541(d)(3) (granting this Court original jurisdiction
“without regard to the amount in controversy.”).
2
  “Missouri is not a ‘notice pleading’ state.” ITT Commercial Fin. Corp. v. Mid-Am. Marine
Supply Corp., 854 S.W.2d 371, 379 (Mo. 1993). Instead, “[t]he Missouri rules of civil procedure
require fact pleading.” State ex rel. Harvey v. Wells, 955 S.W.2d 546, 547 (Mo. 1997). “Because
Missouri is a fact-pleading state, the petition must contain a short and plain statement of the facts
showing that the pleader is entitled to relief.” Gerke v. City of Kansas City, 493 S.W.3d 433, 436
(Mo. App. W.D. 2016) (internal quotation marks omitted); see also Missouri Rule of Civil
Procedure 55.05.
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so as to eliminate those actions which are fatally flawed in their legal premises and designed to

fail, thereby sparing litigants the burden of unnecessary pretrial and trial activity.” Am. Traffic

Solutions, Inc. v. B & W Sensors, LLC, 2014 WL 1272509, at *2 (E.D. Mo. Mar. 27, 2014)

(quotation marks omitted).

         “[T]he plaintiff must allege facts – not mere legal conclusions – that, if true, would support

the existence of the claimed torts.” Moses.com Securities v. Comprehensive Software Systems,

Inc., 406 F.3d 1052, 1062 (8th Cir. 2005) (citing Schaller Tel. Co. v. Golden Sky Systems, 298

F.3d. 736, 740 (8th Cir. 2002)). “Labels and conclusions,” “formulaic recitation[s] of the elements

of a cause of action,” or “naked assertions devoid of further factual enhancement” are insufficient

to meet the plausibility standard. Iqbal, 556 U.S. at 678 (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 554, 557 (2007) (internal quotation marks omitted)); H & R Block E. Enterprises, Inc.,

945 F. Supp. 2d at 1035. A court is “free to ignore legal conclusions, unsupported conclusions,

unwarranted inferences and sweeping legal conclusions cast in the form of factual allegations.”

Wiles v. Capitol Indem. Corp., 280 F.3d 868, 870 (8th Cir. 2002); see also Westcott v. City of

Omaha, 901 F.2d 1486, 1488 (8th Cir. 1990) (a court is not required to “blindly accept the legal

conclusions drawn by the pleader from the facts.”).

                                            ARGUMENT

I.       Given the Center’s Mission to End Abuse in Sport, Congress Granted the Center
         Immunity from Claims for Slander.

         On March 3, 2017, the Center opened its doors with the critical mission to end physical,

emotional, and sexual abuse in the U.S. Olympic and Paralympic Movement (the “Movement”).

The Movement is made up of over 50 private associations primarily known as National Governing

Bodies (“NGBs”). There are estimated to be 11-14 million members of these associations,

including athletes, coaches, and staff. Plaintiff was a member of one of these associations, USA


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Boxing.

         On February 14, 2018, Congress affirmed the Center’s mission when it enacted the

Protecting Young Victims from Sexual Abuse and Safe Sport Authorization Act, Pub. L. No. 126,

115th Cong., 2d Sess., 132 Stat. 318 (Feb. 14, 2018). Congress stated that the Center “shall serve

as the independent national safe sport organization and be recognized worldwide as the

independent national safe sport organization for the United States.” 36 U.S.C. § 220541(a)(1)(A).

With that came the authority to “exercise jurisdiction” over Olympic and Paralympic sports “with

regard to safeguarding amateur athletes against abuse, including emotional, physical, and sexual

abuse, in sports.” 36 U.S.C. § 220541(a)(2).

         A key part of the Center’s mandate is to provide notice to the public of those persons who

have been rendered ineligible to participate in the Movement. In fact, Congress required the Center

to publish such a list. See 36 U.S.C. § 220541(a)(1)(G) (requiring the Center to “publish and

maintain a publicly accessible internet website that contains a comprehensive list of adults who

are barred by the Center….”). For reference, the Center’s Centralized Disciplinary Database is

available at: https://uscenterforsafesport.org/response-and-resolution/centralized-disciplinary-

database.

         Recognizing that the Center’s actions in furtherance of its mission to end abuse, including

publication on its database of those who are barred from participation in sport, might subject the

Center to liability lawsuits, Congress sought “[t]o minimize the risk to the Center of litigation

arising from actions performed in the course of the investigation, adjudication, and sharing of

information of abuse allegations[.]” S. Rep. No. 115-443 at *2 (emphasis added). Congress

recognized that “access to adequate insurance coverage has been a challenge for the Center.” Id.

at *3. With this concern in mind, Congress “provide[d] certain limitations on liability for the



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Center….” Id. Congress anticipated that the limitation on liability would diminish the costs of

potential litigation and “allow the Center to renegotiate its current insurance policy to receive more

favorable terms.” Id. Congress provided the following explicit “Limitation on liability” for the

Center:

          Except as provided in paragraph (2) [regarding actual malice], an applicable entity
          shall not be liable for damages in any civil action for defamation, libel, slander, or
          damage to reputation arising out of any action or communication, if the action arises
          from the execution of the responsibilities or functions described in this section,
          section 220542, or section 220543.

36 U.S.C. § 220541(d)(1). Congress envisioned the protection on liability would “extend not only

to actions for defamation, libel, slander, or damage to reputation, but also to related actions,

including, but not limited to, false light, intrusion upon seclusion, tortious interference, and abuse

of process.” Id. The Center is an “applicable entity” under this statute and, as noted above,

maintenance of its Centralized Disciplinary Database is a congressionally required duty of the

Center. 36 U.S.C. § 220541(d)(4)(A).

          Congress did provide an exception to immunity from damages if the Center acted with

“actual malice.” 36 U.S.C. § 220541(d)(2). However, “[t]here is a presumption that the Center…,

or officers, employees or agents thereof act pursuant to their duties...and without actual malice.”

S. Rep. No. 115-443 at *4. Hence, absent some showing of actual malice, the Center is immune

from damages for publishing individuals on the Center’s Centralized Disciplinary Database.

          Here, Plaintiff’s Petition asserts only one cause of action, which is for slander. See Petition

(ECF No. 1). The two-page Petition contains just five numbered paragraphs. Plaintiff alleges that

on or about November 29, 2017, the Center published a statement on its website that Plaintiff has

been suspended from boxing as a result of sexual misconduct. Id. at ¶ 1-2. Plaintiff alleges the

statement was false and published with the “requisite degree of fault.” Id. at ¶ 3-4. For reference,

here is a screenshot of the five paragraphs in their entirety:
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         In sum, Plaintiff’s Petition seeks only damages for slander. By statute, the Center is

immune from liability for slander absent a showing of actual malice. Plaintiff does not allege any

facts supporting an inference of malice, let alone sufficient facts to overcome the strong

presumption that the Center acted without malice. Under the long line of cases following Iqbal,

merely stating a legal conclusion such as “with requisite degree of fault” without alleging a single

fact in support of that conclusion is legally deficient. See Moses.com Securities, 406 F.3d. at 1062

(“[T]he plaintiff must allege facts – not mere legal conclusions – that, if true, would support the

existence of the claimed torts.”). Accordingly, Plaintiff’s single claim for damages fails, and the

Petition should be dismissed.

II.      Plaintiff’s Claim is Untimely and Barred by the 2-Year Statute of Limitations.
         In addition to the statutory bar on Plaintiff’s Petition, the Petition is also untimely because

it was filed more than two years after the allegedly defamatory statement was made. Missouri

requires that a claim for slander be commenced within two years of the publication of the

statement. Mo. Rev. Stat. § 516.140. Plaintiff alleges the statement was made “on or about

November 29, 2017.” ECF No. 1 at ¶ 1-2; see White v. Fawcett Pub., 324 F. Supp. 403, 404-405

(W.D. Mo. 1970) (explaining that a libel action accrues at the time of the publication of the

allegedly libelous statements). Accepting Plaintiff’s alleged date as true for purposes of this

Motion, Plaintiff was required to bring his action by November 29, 2019. Plaintiff waited until

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June 16, 2021, to file suit this action. It is therefore untimely and should be dismissed.

                                         CONCLUSION
         Based upon its critical mission seeking to eradicate abuse in the Movement, Congress has

determined that the Center should be immune from damage claims for slander absent malice.

Plaintiff has failed to allege any facts to overcome the strong presumption that the Center acted

without malice. Hence, the claim is statutorily barred. Plaintiff’s action is also untimely under

the Missouri statute of limitations. For these reasons, the Center’s Motion should be granted and

the case dismissed with prejudice.

         Respectfully submitted this 18th day of October, 2022.


                                                     /s/ John F. Cooney
                                                  John F. Cooney, MO Bar No. 32522
                                                  John.Cooney@lewisbrisbois.com
                                                  Lewis Brisbois Bisgaard & Smith LLP
                                                  103 W. Vandalia St., Ste. 300
                                                  Edwardsville, IL 62025
                                                  (314) 884-5006 (Phone)
                                                  (618) 692-6099 (Fax)

                                                  ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 18, 2022, a true and correct copy of the foregoing
was served by electronic mail using the Court’s CM/ECF system and/or or by other means as noted
below on all counsel or parties of record.

         Jonathan Savage
         SAVAGE LAW GROUP, LLC
         7281 Olive Boulevard
         St. Louis, Missouri 63130
         savagelawgroupllc@gmail.com

         ATTORNEYS FOR PLAINTIFF                              /s/ John F. Cooney




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